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                                     UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON
                                          PORTLAND DIVISION

FEDERAL TRADE COMMISSION, STATE                     Case No.: 3:24-cv-00347-AN
OF ARIZONA, STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA, STATE OF                      STIPULATION REGARDING
ILLINOIS, STATE OF MARYLAND, STATE                  COMMENCEMENT OF DISCOVERY
OF NEVADA, STATE OF NEW MEXICO,
STATE OF OREGON, and STATE OF
WYOMING,

                       Plaintiffs,

         v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                       Defendants.


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         WHEREAS, the parties to the above-captioned proceeding (“the Parties”) have not yet

conferred pursuant to Federal Rule of Civil Procedure 26(f); and

         WHEREAS, the Parties agree that discovery in this matter should commence as of the

date of this Stipulation Regarding Commencement of Discovery.

         NOW THEREFORE, pursuant to Federal Rule of Civil Procedure 26(d)(1), the parties

hereby stipulate as follows:

         Any party may seek discovery from any source, including but not limited to third parties

who have not appeared in this matter, as of March 20, 2024.

         STIPULATED this 20th day of March, 2024.

FEDERAL TRADE COMMISSION                       STOEL RIVES LLP


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